
659 S.E.2d 738 (2008)
Mary Frances POWE, Employee
v.
CENTERPOINT HUMAN SERVICES, Employer
Brentwood Services, Carrier.
No. 286P07.
Supreme Court of North Carolina.
March 6, 2008.
Kathleen G. Sumner, Greensboro, for Powe.
L. Stephen Kushner, Charlotte, for Human Services, et al.

ORDER
Upon consideration of the petition filed on the 18th day of June 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
